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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

MARGARET LORSBACH,                 )
                                   )
          Plaintiff,               )
                                   )                        Civil Action No.
          vs.                      )
                                   )                        __________________
PIONEER RESTAURANTS, LLC, and TONY )
TERRY, MANAGER OF PIONEER          )
RESTAURANTS, LLC and/or HARDEE'S.  )
                                   )
          Defendant.               )


                                   NOTICE OF REMOVAL

       NOW COME the Defendants, PIONEER RESTAURANTS, LLC and HARDEE'S

RESTAURANTS LLC, by and through their attorneys, HINSHAW & CULBERTSON, and

hereby file this Notice of Removal of the action brought in the Circuit Court of the Seventh

Judicial Circuit in Jersey, County, Illinois under Case No. 16-L-18 to the United States District

Court for the Southern District of Illinois, East St. Louis Division, pursuant to 28 U.S.C. §§ 1441

and 1446. In support of this Notice, Defendants state:

       1.      On August 8, 2016, Plaintiff filed a Complaint in the Circuit Court of the Seventh

Judicial Circuit in Jersey, County, Illinois bearing the caption Margaret Lorsbach v. Pioneer

Restaurants, LLC, Tony Terry, Manager of Pioneer Restaurants, LLC and/or Hardee's under

Case No. 16-L-18. A copy of the Complaint is attached as Exhibit "A".

       2.      Since the filing of the case, Defendant Tony Perry (incorrectly named as Tony

Terry) moved to be dismissed from this case and his motion was granted by the Honorable Judge




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Eric S. Pistorius of the Seventh Judicial Circuit in Jersey County, Illinois on December 15, 2016.

A copy of the Court's order is attached as Exhibit "B".

        3.      This Notice of Removal was filed with the Clerk of the United States District

Court within 30 days after it became known to the remaining Defendants that this matter is

removable and, therefore this Notice is timely under 28 U.S.C. § 1446(b).

        4.      28 U.S.C. § 1441 (b) provides the following:

                Any civil action of which district courts have original jurisdiction
                founded on a claim or right arising under the Constitution, treaties
                or laws of the United States shall be removable without regard to
                the citizenship or residence of the parties. Any other such action
                shall be removable only if none of the parties in interest properly
                joined and served as defendants is a citizen of the State in which
                such action is brought.

28 U.S.C. § 1441(b). Jurisdiction exists in a removal action if the case might have originally

been brought in federal court. Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).

        5.      This case can now be brought in the United States District Court pursuant to 28

U.S.C. § 1332, which provides:

                (a) The district courts shall have original jurisdiction of all civil
                actions where the matter in controversy exceeds the sum or value
                of $75,000, exclusive of interest and costs, and is between --

                (1) citizens of different States . . . .

28 U.S.C. §§ 1332(a).

        6.      Plaintiff is a resident and citizen of Jersey County, Illinois. (See Exhibit “A,” ¶1).

Accordingly, Plaintiff is considered a citizen of Illinois for diversity purposes. The remaining

Defendants in this case, Pioneer Restaurants, LLC and Hardee's Restaurants LLC, are not

citizens of Illinois.




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       7.       Pioneer Restaurants, LLC and Hardee's Restaurants LLC are both limited

partnerships.

       8.       For purposes of diversity of citizenship, a limited partnership is a citizen of each

state in which any of its partners, limited or general, are citizens. Lindley Contours, LLC v.

AABB Fitness Holdings, Inc., 414 Fed.Appx. 62, 64 (9th Cir. 2011).

       9.       Pioneer Restaurants, LLC is not a citizen of Illinois. Those that make up Pioneer

Restaurants, LLC are: Dewey R. Brown, 5836 Oxford Road, Longmont, CO; Todd Pahl, 10857

Bobcat Terrace, Lone Tree, CO; Max Soria, 11565 Dahlia Street, Thornton, CO; and Bobby

Medlen, 158 Durham Road, Hoschton, GA. The LLC's principal place of business is 7490

Clubhouse Road, Boulder, Colorado.

       10.      Hardee's Restaurants LLC is not a citizen of Illinois. Hardee's Restaurants, LLC's

principal place of business is at 100 North Broadway, St. Louis, Missouri and its sole member is

Hardee's SPV Guarantor LLC, a Delaware limited liability company, with its principal place of

business at 6303 Carpinteria Avenue, Carpinteria, California. The sole member of Hardee's SPV

Guarantor LLC is Hardee's Food Systems LLC. Hardee's Food Systems LLC is a North Carolina

limited liability company with its principal place of business at 100 North Broadway, St. Louis,

Missouri. The sole member of Hardee's Food Systems LLC is CKE Restaurants Holdings, Inc.,

a Delaware corporation with its principal place of business located at 6303 Carpinteria Avenue,

Carpinteria, California. There are no other members.

       11.      With respect to the amount in controversy, "a defendant's notice of removal need

only include a plausible allegation that the amount in controversy exceeds the jurisdictional

threshold." Dart Cherokee Basin Op. Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014). Plaintiff's




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Complaint seeks recovery against the Defendants for injuries to her leg that resulted in

amputation of her leg, present and future pain and suffering, disability, disfigurement, present

and future medical expenses, etc., in addition to nursing home expenses where she resides

permanently. (See Exhibit "A," ¶18 of Count I and Plaintiff's Answers to Interrogatories Nos. 9

and 12 attached as Exhibit "C"). Plaintiff's past medical expenses that she is seeking recovery

alone are $169,603. (In her discovery answers, Plaintiff produced medical bills totaling just over

$169,603. A chart of Plaintiff's medical bills is attached as Exhibit "D"). Accordingly, the

matter in controversy exceeds the jurisdictional threshold.

       12.     Pursuant to 28 U.S.C. §1441(a), removal to the United States District Court for

the Southern District of Illinois is proper because that District embraces the District Court where

this action is currently pending. See 28 U.S.C. §93(c).

       13.     Pursuant to 28 U.S.C. §1446(d), Defendants will promptly file a copy of this

Notice of Removal in the Seventh Judicial Circuit, Jersey County, Illinois and give written notice

of the removal of the action to counsel for Plaintiff.

       14.     By removing the action to this Court, Defendants do not waive any defenses,

objections or motions available to it under state or federal law.




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       WHEREFORE, pursuant to 28 U.S.C. §§1441 and 1446, Defendants, PIONEER

RESTAURANTS, LLC and HARDEE'S RESTAURANTS LLC, respectfully remove to this

Court the action docketed under No. 16-L-18 in the Circuit Court of the Seventh Judicial Circuit

in Jersey County.

                                            Attorneys for Defendants,
                                            PIONEER RESTAURANTS, LLC and
                                            HARDEE'S RESTAURANTS LLC

                                            HINSHAW & CULBERTSON LLP


                                            By:    /s/Madelyn J. Lamb
                                                   Madelyn J. Lamb


HINSHAW & CULBERTSON LLP
521 West Main Street, Suite 300
Belleville, IL 62222-0509
Ph: (618) 277-2400




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